Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 1 of 32 Page ID #:203

                                                                     02/24/2023
                                                                          TF
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 2 of 32 Page ID #:204
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 3 of 32 Page ID #:205
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 4 of 32 Page ID #:206
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 5 of 32 Page ID #:207
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 6 of 32 Page ID #:208
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 7 of 32 Page ID #:209
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 8 of 32 Page ID #:210
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 9 of 32 Page ID #:211
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 10 of 32 Page ID #:212
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 11 of 32 Page ID #:213
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 12 of 32 Page ID #:214
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 13 of 32 Page ID #:215
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 14 of 32 Page ID #:216
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 15 of 32 Page ID #:217
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 16 of 32 Page ID #:218
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 17 of 32 Page ID #:219
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 18 of 32 Page ID #:220
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 19 of 32 Page ID #:221
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 20 of 32 Page ID #:222
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 21 of 32 Page ID #:223
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 22 of 32 Page ID #:224
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 23 of 32 Page ID #:225
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 24 of 32 Page ID #:226
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 25 of 32 Page ID #:227
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 26 of 32 Page ID #:228
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 27 of 32 Page ID #:229
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 28 of 32 Page ID #:230
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 29 of 32 Page ID #:231
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 30 of 32 Page ID #:232
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 31 of 32 Page ID #:233
Case 2:22-cv-08587-FLA-AGR Document 33 Filed 02/24/23 Page 32 of 32 Page ID #:234
